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                                  STATEMENT OF FACTS
       On May 31, 2020, at approximately 2:03am multiple suspects were observed by
Metropolitan Police officers burglarizing the Suntrust Bank located at 1275 K Street, NW,
Washington, D.C, a bank whose deposits were then insured by the Federal Deposit Insurance
Corporation. The suspects broke a front glass window of the bank and entered. Once inside the
suspects ransacked the bank and attempted to force open the cash box cover for the ATM machine.
At this time law enforcement stopped two of the suspects and arrested them. The other
suspects were able to get away. One of the two suspects arrested was later identified by law
enforcement as defendant Dominique Maxey.

        Defendant D o m i n i q u e Maxey was p l a c e d u n d e r a r r e s t by law enforcement
officers on the scene as one of the suspects who burglarized the Suntrust Bank. Additionally
Maxey was captured on bank surveillance entering the bank through the broken glass window
and was seen rummaging through the counters and around the area of the ATM machine.
Maxey’s clothes and boots, which were recovered by law enforcement, matched the clothing
description of one of the suspects in the surveillance photos.
      The suspects did not obtain any money during the burglary. The bank did sustain extensive
damages.

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                                             SPECIAL
                                               ECIAAL AGENT KEVIN MOORE
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1st day of June, 2020.


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                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
